         Case 1:18-cv-05487-RWS Document 1 Filed 06/18/18 Page 1 of 11




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


HARRIET HAREWOOD,

                             Plaintiff,                 COMPLAINT

                -against-                                 18-cv-


                                                          JURY TRIAL DEMANDED


NEW YORK CITY DEPARTMENT OF
EDUCATION; ROBERT MERCEDES, in his
Official and Individual Capacity as PRINCIPAL OF
MIDDLE SCHOOL 390; ANDREA VARONA, in
her Official and Individual Capacity as ASSISTANT
PRINCIPAL OF MIDDLE SCHOOL 390,

                              Defendants.




       Plaintiff HARRIET HAREWOOD, by and through her attorneys GLASS KRAKOWER

LLP, as and for her Complaint, alleges as follows:


                              PRELIMINARY STATEMENT

       1.     Plaintiff HARRIET HAREWOOD (“Plaintiff” or “Harewood”), a tenured art

teacher formerly employed by the New York City Department of Education (“NYCDOE”), brings

this action based on unlawful discrimination and retaliation on the basis of her age and race in

violation of the federal Age Discrimination in Employment Act (“ADEA”); Title VII of the Civil

Rights Act of 1964 (“Title VII”), 42 U.S.C. § 2000e et. seq., the New York State Human Rights

Law, N.Y. Exec Law § 296 (“NYSHRL”); the New York City Human Rights Law, N.Y.C.


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Case 1:18-cv-05487-RWS Document 1 Filed 06/18/18 Page 2 of 11
Case 1:18-cv-05487-RWS Document 1 Filed 06/18/18 Page 3 of 11
Case 1:18-cv-05487-RWS Document 1 Filed 06/18/18 Page 4 of 11
Case 1:18-cv-05487-RWS Document 1 Filed 06/18/18 Page 5 of 11
Case 1:18-cv-05487-RWS Document 1 Filed 06/18/18 Page 6 of 11
Case 1:18-cv-05487-RWS Document 1 Filed 06/18/18 Page 7 of 11
Case 1:18-cv-05487-RWS Document 1 Filed 06/18/18 Page 8 of 11
Case 1:18-cv-05487-RWS Document 1 Filed 06/18/18 Page 9 of 11
Case 1:18-cv-05487-RWS Document 1 Filed 06/18/18 Page 10 of 11
Case 1:18-cv-05487-RWS Document 1 Filed 06/18/18 Page 11 of 11
